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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
________________________________________
                                         )
INA STEINER, DAVID STEINER, and          )
STEINER ASSOCIATES, LLC,                 )
                                         )
                    Plaintiffs,          )    Civil Action
                                         )    21-cv-11181-PBS
v.                                       )
                                         )
EBAY, INC., et al.,                      )
                                         )
                    Defendants.          )
______________________________           )

                                   ORDER

                              May 16, 2025
Saris, D.J.

     Defendant Steve Wymer has moved to vacate the government’s

protective order, see Dkt. 621, which was endorsed by the Court on

January 5, 2024, after extensive negotiations and the agreement of

all parties. See Dkt. 315. Defendants Wendy Jones and Devin Wenig

(together with Wymer, “Defendants”) have joined in the motion to

vacate. See Dkts. 624-25. Defendants argue that the court must

compel   the   government    to   formally   invoke   the     state   secrets

privilege to shield discovery into the details of Jim Baugh’s

covert operations experience with the CIA. See Sakab Saudi Holding

Co. v. Aljabri, 58 F.4th 585, 594-96 (1st Cir. 2023) (setting forth

the requirements to assert the state secrets privilege). The

government opposes the motion. After a review of the briefs and an




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ex parte, in camera review of confidential declarations submitted

by the government, I deny the motion for the following reasons:

     First, the protective order was the product of extensive

negotiation and was entered with the consent of all parties more

than a year ago. The motion to vacate the order, filed after the

close of discovery, is untimely. This Court does not lightly

disturb a stipulated protective order once entered. See Annotated

Manual   for   Complex    Litigation        §    11.432   (4th      ed.   2024)     (“A

protective order is . . . subject to . . . termination for good

cause.” (emphasis added)). Defendants argue that Baugh’s recent

decision to testify for the plaintiffs at trial and his limited

waiver of Fifth Amendment rights were unexpected and justify the

late request to vacate. But Defendants were aware of Baugh’s key

role from the outset of the criminal investigation. A party cannot

sleep on its rights during discovery and expect rescue when it

belatedly awakens. Cf. Bennett v. City of Holyoke, 362 F.3d 1, 6

(1st Cir. 2004).

     Second, Defendants contend that Baugh’s prior CIA employment

is relevant to impeaching his credibility, arguing that he secretly

worked   as    an    embedded    government       operative      within     American

companies, including eBay, and that his work allegedly involved

deception     to    achieve   objectives        specified   by      his   government

“handlers”     without    his   employers’        knowledge.     But      the   public

statements     Defendants       cite   to       from   Baugh’s      criminal       case

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characterize his covert work with the CIA as occurring prior to

his employment at eBay. There is no indication in the existing

record that his government-linked activities overlapped with his

role at eBay. The additional classified details Defendants seek

are,     at    best,    marginally    relevant.        Discovery      must    remain

proportional to the needs of the case. See Wells Real Est. Inv.

Tr. II, Inc. v. Chardon/Hato Rey P’ship, S.E., 615 F.3d 45, 58

(1st Cir. 2010) (affirming the district court’s broad discretion

to   deny     overbroad   or    untimely       discovery   requests);     see      also

Emigrant Residential LLC v. Pinti, 37 F.4th 717, 727 (1st Cir.

2022) (explaining that Rule 26(b)(1) “does not open the floodgates”

where the burden and risk of disclosure outweigh minimal probative

value). Requiring further disclosure of classified information,

beyond      what   is   already   known    and    available,     would    impose     a

significant burden that outweighs any speculative probative value.

       For the above reasons, the motion to vacate (Dkt. 621) is

DENIED.




SO ORDERED.

                                   /s/ PATTI B. SARIS
                                   Hon. Patti B. Saris
                                   United States District Judge




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